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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                8:08CR3038
                                     )
           v.                        )
                                     )
YESENIA MILLAN GONZALEZ,             )          MEMORANDUM AND ORDER
                                     )
                Defendant.           )
                                     )



     A Motion for Leave to Withdraw has been filed by the
defendant’s appointed counsel, Michael J. Tasset.              Filing 29.
The defendant has retained James H. Hoppe as counsel, and Mr.
Hoppe has filed an entry of appearance.          Filing 26.

     IT IS ORDERED:


     1. The motion of counsel for defendant, Michael J. Tasset,
to withdraw, filing 29, is granted.

     2.   Defendant’s retained counsel, James H. Hoppe, shall
serve defendant with a copy of this order.


     DATED this 7th day of April, 2008.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
